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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,               )      CASE NO. 1:05CR519-002
                                        )
                     Plaintiff(s),      )
                                        )
                                        )      JUDGE CHRISTOPHER A. BOYKO
              vs.                       )
                                        )
LATHISHA REESE,                         )
                                        )      ORDER
                     Defendant(s).      )
                                        )

       The Defendant appeared before this Court on November 25, 2008 for a hearing

on Supervised Release Violations and admitted to the alledged violations.

       The Court, Counsel and Probation Officer agreed that a determination of the

Defendant’s mental condition under 18 U.S.C.§ 4244(d) was necessary prior to

disposition. Therefore it is

       ORDERED that such examination shall be conducted pursuant to 18 U.S.C.§

4244(d) and shall be completed no later than January 5, 2008;

       FURTHER ORDERED that a psychiatric and/or psychological examination of the

Defendant pursuant to 18 U.S.C. § 4244(d) with provisions under 18 U.S.C. 4247(b)(c)

shall be conducted and a report on the same submitted to the Court and served on

counsel of record (Assistant United States Attorney Robert Corts, 801 West Superior

Avenue, Suite 400, Cleveland, Ohio 44113 and Defense counsel Angelo F. Lonardo,

Yelsky & Lonardo, Ste. 800, 75 Public Square Cleveland , OH 44113).
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       FURTHER ORDERED that should the examiner(s) need additional time to

complete their examination of the Defendant, they shall file a motion with the Court

showing good cause why the additional time is necessary to observe and evaluate the

Defendant according to 18 U.S.C. § 4247(b);

       FURTHER ORDERED that the psychiatric and/or psychological examination

shall be performed at Butner Federal Medical Center, Old North Carolina Highway 75,

Butner, North Carolina, 27509;

       FURTHER ORDERED that a hearing shall be scheduled in this matter after the

results of the Defendant’s examination have been submitted to the Court and counsel;

       FURTHER ORDERED that the Defendant shall continue to receive, while in

federal custody, all necessary medications, if any, currently prescribed to her; and,

       FURTHER ORDERED that the Court holds in abeyance the violation hearing

until after completion of the report on Defendant’s psychiatric and/or psychological

examination .



       IT IS SO ORDERED.



                                          S/Christopher A. Boyko
                                          Christopher A. Boyko
                                          United States District Judge




December 1, 2008
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